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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

Christopher Brian Patrick,
                                                Case No. 2:19-cv-4685
       Plaintiff,
                                                Judge Michael H. Watson
       V.

                                                Chief Magistrate Judge Deavers
C R Bard Incorporated, et al.,

       Defendants.

                                        ORDER


        On September 28, 2020, Chief Magistrate Judge Deavers issued a report

and recommendation ("R&R") recommending that this case be dismissed without

 prejudice pursuant to Federal Rule of Civil Procedure 41 (b) for failure to prosecute.

 ECF No. 48.


       Plaintiff was notified of his right to file objections to the R&R pursuant to 28

 U.S.C. § 636(b)(1). Id. at 6. Chief Magistrate Judge Deavers also specifically

 advised Plaintiff that the failure to object to the R&R within fourteen days would

 result in a waiver of both the right to de novo review by the District Judge and the

 right to appeal the decision of the District Court adopting the R&R. Id.

       The deadline for filing such objections has passed, and no objections were

 filed. Having received no objections, the R&R is ADOPTED. This case is

 DISMISSED WITHOUT PREJUDICE. The Clerk shall TERMINATE this case.

       IT IS SO ORDERED.



                                   MICHAEL H. WATSON, JUDGE
                                   UNITED STATES DISTRICT COURT
